             Case 4:21-cr-00429-YGR Document 128 Filed 12/20/22 Page 1 of 18



 1 KEVIN G. LITTLE, SBN 149818
   LAW OFFICE OF KEVIN G. LITTLE
 2 Post Office Box 8656
   Fresno, California 93747
 3 Telephone: (559) 342-5800
   Facsimile: (559) 242-2400
 4 E-Mail: kevin@kevinglittle.com

 5 Attorneys for Defendant
   Ray J. Garcia
 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 9
10

11   UNITED STATES OF AMERICA,                          CASE NO.: 4:21-CR-00429-YGR
12                                Plaintiff,            EX PARTE APPLICATION FOR ISSUANCE OF
                                                        DOCUMENT SUPBOENA TO KTVU NEWS
13                          v.                          [F.R.Cr.P. 17; Criminal Local Rule 17-2]
14   RAY J. GARCIA,
15                               Defendant.
16

17 TO THE HONORABLE COURT:

18          Defendant Ray Garcia, through his undersigned counsel and in accordance with Federal Rule of

19 Criminal Procedure 17 and Northern District Criminal Local Rule 17-2, hereby makes this ex parte

20 application for the issuance of the subpoena attached as Exhibit B, directed to KTVU News.
21          Good cause exists for presenting this request to the Court on an ex parte basis, given the time

22 limitations applicable to the filing of post-trial motions, and also because the prosecution was already

23 provided informal notice of the defendant’s intent to seek this subpoena at the status conference held on

24 December 19, 2022.

25          This application is supported by the accompanying points and authorities and the Declaration of

26 Kevin G. Little. Because this application establishes the existence of good cause to issue the requested
27 subpoena, it should be issued in accordance with Federal Rule of Criminal Procedure 17(c) and Northern

28 District Criminal Local Rule 17-2.

      EX PARTE APPLICATION FOR ISSUANCE OF               1
30    DOCUMENT SUPBOENA TO KTVU NEWS
           Case 4:21-cr-00429-YGR Document 128 Filed 12/20/22 Page 2 of 18


     Dated: December 20, 2022                   /s/ Kevin G. Little
 1                                              Kevin G. Little
                                                Counsel for Defendant
 2
                                                Ray J. Garcia
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     EX PARTE APPLICATION FOR ISSUANCE OF   2
30   DOCUMENT SUPBOENA TO KTVU NEWS
              Case 4:21-cr-00429-YGR Document 128 Filed 12/20/22 Page 3 of 18



 1                                       Declaration of Kevin G. Little

 2         The undersigned, Kevin G. Little, hereby declares as follows:

 3            1.   I am the attorney of record for the defendant, Ray J. Garcia, having been approved to

 4   substitute for former counsel James T. Reilly on December 13, 2022.

 5            2.   I am primarily in charge of researching and drafting the defendant’s post-trial motions.

 6            3.   I am experienced in researching and litigating potential jury misconduct issues, based on

 7   my having done so numerous times in the thirty years I have represented criminal defendants in state

 8   and federal courts. Under applicable law, a defendant in a criminal case is entitled to a jury that reaches

 9   a verdict on the basis of evidence produced at trial. Turner v. Louisiana, 379 U.S. 466 (1965); Estrada v.

10   Scribner, 512 F.3d 1227, 1238 (9th Cir. 2008); Raley v. Ylst, 470 F.3d 792, 803 (9th Cir. 2006). When

11   the jury considers extraneous or extrinsic facts not introduced in evidence, a defendant has effectively

12   lost his Sixth Amendment rights of confrontation, cross-examination, and the assistance of counsel with

13   regard to jury consideration of the extraneous evidence. Lawson v. Borg, 60 F.3d 608, 612 (9th Cir.

14   1995).

15            4.   In familiarizing myself with this case, I became aware of a news report that aired on

16   KTVU news, which included portions of an interview with the jury foreman. In that interview, the

17   foreman reportedly stated, that “he wished there had been more women on the panel, as he was moved

18   by their stories as mothers and daughters.” The foreperson also reportedly stated that “[a]n elderly

19   female juror brough her own personal stories and ‘touching examples of humanity.’” See Exhibit A, a

20   copy of the text of the KTVU news story that aired on December 9, 2022. While not absolutely clear,

21   these passages from the news story suggest that the jurors discussed and considered their own personal

22   stories and life experiences during deliberations, which could be improper. See United States v.

23   Navarro-Garcia, 926 F.2d 818, 821-22 (9th Cir. 1991) (noting instances in which "a juror's personal

24   experiences may constitute extrinsic evidence"); Bayramoglu v. Estelle, 806 F.2d 880, 887 (9th Cir.

25   1986) ("Jurors have a duty to consider only the evidence which is presented to them in open court.").

26            5.   Based on my prior experience, the portion of a news story that airs typically includes only

27   a portion of the recorded contact with the interviewee. I am also aware that news outlets typically save

28   the raw or unedited footage of their interviews for some period of time. I therefore believe that KTVU

     EX PARTE APPLICATION FOR ISSUANCE OF               3
30   DOCUMENT SUPBOENA TO KTVU NEWS
           Case 4:21-cr-00429-YGR Document 128 Filed 12/20/22 Page 4 of 18



 1   News may be in possession of additional footage of the foreperson’s interview, which could well shed

 2   additional light on his quoted comments.

 3          6.    I have attempted to obtain raw footage from KTVU informally, but I was informed that

 4   they ordinarily do not release such footage absent a court order. In response to that information, I

 5   promptly sent KTVU a preservation letter, in order to prevent the destruction of any additional footage

 6   of the foreperson’s interview, or of any other available juror interview footage. See Exhibit B.

 7          7.    In anticipation that the Court might grant this application, I have prepared the attached

 8   subpoena, as well as a proposed order for its issuance. See Exhibit C.

 9          8.    If called as a witness in this matter, I could truthfully and competently testify to the

10   foregoing.

11          Sworn under penalty of perjury under the laws of the United States on December 20, 2022, in

12   Fresno, California.

13
                                                                 /s/ Kevin G. Little
14                                                               Kevin G. Little
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     EX PARTE APPLICATION FOR ISSUANCE OF               4
30   DOCUMENT SUPBOENA TO KTVU NEWS
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               EXHIBIT A
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                                        Dublin prison             128 trial:
                                                      warden sex abuse   Filed    12/20/22
                                                                             How the              Page
                                                                                     jury came to its        6 of 18
                                                                                                      guilty verdict



                                                                                                               Watch Live




Dublin prison warden sex abuse trial: How the jury
came to its guilty verdict
By Lisa Fernandez | Published December 9, 2022 | Updated 12:21PM | Dublin prison | KTVU FOX 2 |


   Ex-warden of Bay Area women's prison convicted of sex abuse
   Ray Garcia, the former warden of the federal women's prison in Dublin, was
   convicted of eight counts of sexual abuse and lying to the FBI. Women held in the
   prison testified that Garcia fondled them, took nude photos and other acts of
   misconduct.



   OAKLAND, Calif. - A jury of 10 men and two women found Ray J. Garcia – the
   former warden of the all-women's Federal Correctional Institute at Dublin – guilty
   of eight counts of sex abuse and lying to the FBI.

   Garcia is the highest ranking U.S. Bureau of Prisons official to be convicted of
   such crimes, according to the Department of Justice.

   The trial, held in U.S. District Court in Oakland, lasted seven days. The jury
   deliberated for about 14 hours over three days.

   In an exclusive interview, Simeon Meyer of San Francisco – the jury foreman –
   shared his opinions on the case and broke down how he and his peers came to
   their decision on Thursday just before noon.


   Who was on the jury?
   At first, Meyer said he didn't even notice there was a preponderance of men on
   the jury.


https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                         1/7
12/19/22, 6:07 PM    Case 4:21-cr-00429-YGR        Document
                                        Dublin prison             128 trial:
                                                      warden sex abuse   Filed    12/20/22
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                                                                                                      guilty verdict

   It wasn't until one of the two female jurors spoke up about the gender inequity
   that made him realize how "odd" it was.

   Looking back, Meyer said he wished there had been more women on the panel,
   as he was moved by their stories as mothers and daughters.

   Meyer is the controller for the Chalet Restaurant Group. He said some of the
   other jurors are chemists, accountants, corporate executives and tech
   employees. One juror is a newly documented citizen.

   Each brought a unique perspective to the case, Meyer said, and often used their
   careers as the basis to forming their opinions.

   For instance, a female corporate executive noticed how broken the federal prison
   system is from a business perspective.

   An elderly female juror brought her own personal stories and "touching examples
   of humanity," Meyer said.


   Ex-FCI Dublin prison warden dodges questions on sex abuse allegations
   Former FCI Dublin prison warden Ray Garcia dodged questions from KTVU's Evan
   Sernoffsky while leaving court.



   What did you think of Ray Garcia?
   Meyer said he thought the former warden was "arrogant" and full of "hubris." He
   said none of the jury believed the inconsistencies in his stories and he could tell
   that this was a classic "abuse of power" case.

   One comment that Garcia made stood out to Meyer and the rest of the jurors
   that seemed especially out of line.


https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                    2/7
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                                                                                                      guilty verdict

   "I have plenty of pictures I can use for arousal of free women I can see any day of
   the week," Garcia said angrily under cross-examination. "I do not need a picture
   of an inmate to arouse me."

   The reason the jury deliberated over three days, Meyer said, because at first,
   there were two male "holdouts."

   Everyone else thought Garcia was guilty at the start of deliberations. But the two
   men were only about "80 to 90%" there on the first day, Meyer said.

   Those two wanted to methodically go through the counts to make sure that
   Garcia actually digitally penetrated one of the victims, Melissa, in the bathroom –
   as opposed to some of the other counts, which alleged a more general, "abusive
   sexual contact."

   "Two people needed to be convinced on the sexual act charge vs. the sexual
   contact charge," Meyer said. "We needed to come together to really discuss it."

   One of those jurors - a new citizen to the United States -- also wanted to weigh
   Garcia's long, 30-year career with the BOP as a factor in his decision.

   In the end, though, Meyer said these two jurors playing devil's advocates just
   made for a more thorough deliberation.


   What did you think of the women who testified?
   Meyer said the women were completely believable, and even though Garcia's
   defense painted them as convicted felons with reasons to lie, that thought never
   crossed the jury's mind.

   The jury believed that the women who testified had all been sexually assaulted
   and they were moved by the stories the women told of being retaliated against
   for speaking out.
https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                    3/7
12/19/22, 6:07 PM    Case 4:21-cr-00429-YGR        Document
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                                                      warden sex abuse   Filed    12/20/22
                                                                             How the              Page
                                                                                     jury came to its        9 of 18
                                                                                                      guilty verdict

   Meyer said Melissa, the first witness, was especially compelling as she told of how
   Garcia instructed her to get naked on all fours on a friend's bed and then insert a
   candy cane into her vagina.

   She then teared up telling the jury how her life inside prison has been hell since
   coming forward with her story.

   A young male juror and an Indian woman kept asking their peers: What
   motivation would Melissa and the others have to lie?


   How did you feel looking at so many explicit photos?
   Attorneys told the jury that Garcia has "hundreds" of photos of his penis – at least
   one with semen coming out – on his prison-issued cell phone.

   There were also naked photos of Melissa on all fours in a cell room, and
   screenshots of a victim named Rachel during a naked video chat with Garcia that
   she didn't know were being taken.

   Meyer said that the jury was only shown two of the warden's penis photos and
   the naked pictures of Melissa and Rachel.

   "We definitely saw dick pics," he said.

   Only the jury was shown these pictures and no one in the gallery was allowed to
   see them to protect the women's dignity. Meyer said the jury was not shown the
   semen photo.

   While Meyer said seeing these pictures was important, he didn't like seeing them
   up for so long on the computer in his jury box.

   He said he got uncomfortable and had to put a notebook up to block the view at
   times.
https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                    4/7
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                                                                                 the jury came toPage
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                                                                                                           verdict

   No one giggled over the photos in deliberations, Meyer said, adding that everyone
   acted seriously while discussing them.


   Powerless in Prison: Surviving Sex Abuse
   Over the course of eight months, KTVU has spoken with more than three dozen
   women who say they have been sexually assaulted or witnessed such abuse at
   FCI Dublin. Many who spoke up were retaliated against.



   What did you think of the prosecution's star rebuttal
   witness?
   During trial, several women and the prison psychologist testified that Garcia often
   bragged he wouldn't be investigated because the head of the Special Investigative
   Services – Lt. Stephen Putnam – was his best friend of 23 years.

   So when Putnam was called to testify as the prosecution's rebuttal witness, Meyer
   said he expected Putnam to vouch for Garcia.

   That didn't happen.

   "We thought him to be a buddy and have his back," Meyer said. "But he didn't."

   Putnam shot down all of Garcia's claims, including the fact that it's never OK to
   take a picture of a naked woman and it's not the job of the warden to develop
   confidential informants.

   The jury took notice of Putnam's testimony, Meyer said.


   What did you think of the prosecutors?
   Meyer said he liked Asst. U.S. Attorneys Mollie Priedeman and Andrew Paulson.

   "They were fantastic," he said. "They did a really good job."
https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                    5/7
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                                                                                 the jury came toPage
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                                                                                                           verdict

   He said they were both methodical in showing how Garcia had a pattern of
   grooming women before sexually abusing them.

   And he said he especially liked their closing arguments and how they pointed out
   how ridiculous Garcia's explanations were.


   What did you think of the defense?
   Meyer said he thought defense attorney James Reilly "did a really poor job."

   He said he and the other jurors did not like how Reilly tried to paint the women as
   lying convicted felons and how he "treated them with impunity."

   Meyer said he felt Reilly also badgered the witnesses and had a general "lack of
   direction."

   He said he scribbled all sorts of comments to himself about Reilly's treatment of
   the women on the edges of the 65 pages of notes he took during trial.


   What did you think of the judge?
   Meyer said everyone liked Judge Yvonne Gonzales Rogers and how she ran her
   courtroom.

   "She was awesome," Meyer said. "I liked her demeanor and her fairness."


   How did you spend seven days with strangers since you
   couldn't talk about the case?
   Meyer said it was difficult to spend a week with people he didn't know and not be
   able to talk about the one thing that was bonding them together – the trial.

   "We were pretty quiet," he said. "It was a little awkward."

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                                                                                                           verdict

   Once in a while, someone might ask about golf during the breaks, he said.

   Despite the jurors being strangers, though, Meyer said he was very proud of how
   they worked together and ended up coming to a unanimous decision, especially
   since there was such "heavy testimony" to consider.

   Lisa Fernandez is a reporter for KTVU. Email Lisa at lisa.fernandez@fox.com or call
   her at 510-874-0139. Or follow her on Twitter @ljfernandez



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                 EXHIBIT B
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                                     THE LAW OFFICE OF KEVIN G .. LITTLE
kevin G. little, CSBN 143&18                                                              Mailllig Address:
Micl:ieHe. Tostenrnde, CSBN 29012l                                                        Pos.t Offi:;e .Box 8656.
                                                                                          Fresno, California 93747
Telephor,e: (559) 342-5800
Fac�lmile.- (559) 420-0839                                                                Phy,rca! Address;
E-Mail: kevin@kev)nglittle.tom                                                            1225 E.. Diviiader.o Street
                                                                                          Fresno. ca•Bfornia 9�721
                                           December 16, 2022
lndividua,1/Ffrm/Organizatioil:
                    .           KTVU,. 2 Jack London Sq., Oakland CA 94607,·. (FAX). (510) 874-0331
Our Client: Defendant Ray J. Garcia, USA v. Garcia, No. 4:21-cr-00429 YGR
Summary of Dispute: Criminal Matter
Your station aired a story including snippets of an interview of foreperson Simeon Myer
https://www .ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict. Please
preserve the unedited footage of this interview until this case is completed, both at trial and any appeals.
Re:      Preservation of All Potentially Relevant Information
Dear sir or madam:
On behalf.of our above-:named client, the Law Office· of Kevin G. Little hereby notifies you of your obligation
under federal and state law to preserve all electronically stored information, including any
copies or backups thereof, in your possession, custody or control, that may be potentially relevant to this
dispute. The duty of preservation also of course extends to any potentially relevant paper documents.
We consider your electronic data and paper documents to be valuable and itreplaceable sources of discoverable
infonnation in this dispute. We therefore intend on seeking in disc.overy all potentially
relevant electronic data and documents in your possession, custody, or control, including without
limitation electronic records., aud.it trails,. text messages, emails, audio fil es, video files, paper files,
memoranda, notes, drafts, and written correspondence.
Accordingly, we hereby place you on notice to preserve all electronic data and paper documents
regarding our client and/or this dispute. ln addition, we hereby place you on iloti.ce 1101 to allow the
deletion of any electronic data, including text messages. emails, and media files, i"elating to this dispute.
Nor should you allow the destruction of any potential.ly relevant paper documents.
We are confident that your finn will continue to preserve all potentially relevant electronic data and
paper files throughout the duration of this dispute.
                                               Sincerely,

                                               7<b��
                                               Kevin G. Little
     Case 4:21-cr-00429-YGR Document 128 Filed 12/20/22 Page 15 of 18



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                 EXHIBIT C
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 CAND 89B (Rev. 6/17) Subpoena to Produce Documents or Objects in a Criminal Case



                                        UNITED STATES DISTRICT COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                     SUBPOENA TO PRODUCE
                                                                              DOCUMENTS OR OBJECTS
                                        Plaintiff,                            IN A CRIMINAL CASE
         v.                                                                   Case No.: 4:21cr00429-YGR
Ray J. Garcia

                                        Defendant(s).

TO: KTVU NEWS, 2 Jack London Sq., Oakland CA 94607


YOU ARE COMMANDED to produce at the place, date, and time specified the document(s) or object(s) indicated
below. If compliance would be unreasonable or oppressive, you may file a motion requesting the court to quash or
modify the subpoena, to review the documents in camera, or to permit production only pursuant to a protective order.
PLACE                                                                                                      COURTROOM/JUDGE
☐ U.S. Courthouse         ☐ U.S. Courthouse     ☐ U.S. Courthouse         ☐
                                                                          ✔ U.S. Courthouse                Courtroom 1, 4th Floor
  450 Golden Gate Ave.      280 South First St.   3140 Boeing Ave.          1301 Clay Street               DATE AND TIME
  San Francisco, CA 94102   San Jose, CA 95113    McKinleyville, CA 95519   Oakland, CA 94612
                                                                                                           January 4, 2023,10:00 a.m.
 If the document(s) or object(s) are produced in advance of the date specified, either to the court in an envelope delivered to
 the clerk’s office or to the issuing attorney whose name and address appears below, no appearance is necessary.
 The following document(s) or object(s) shall be produced:
1. Any and all unedited footage of any post-verdict interview(s) of foreperson juror Simeon Meyer regarding the
above-entitled case.

2. Any and all unedited footage of any post-verdict interview(s) of any juror(s) regarding the above-entitled case.



 NOTE: Subpoena forms requiring the appearance of a witness to testify at a criminal proceeding or to testify and bring
 documents to a criminal proceeding, must use Form CAND 89A, Subpoena to Testify in a Criminal Case) or for the
 production of state law enforcement personnel or complaint records (CAND 89C, Subpoena to Produce State Law
 Enforcement Personnel Or Complaint Records in a Criminal Case) are available at the Court’s website:
 cand.uscourts.gov.
 U.S. MAGISTRATE JUDGE OR CLERK OF COURT                                       DATE



 (By) Deputy Clerk


 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
Kevin G. Little, Esq., Law Office of Kevin G. Little, Post Office Box 8656, Fresno, CA 93747, Tel. (559)
342-5800, Fax (559) 242-2400, E-Mail kevin@kevinglittle.com
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CAND 89B (Rev. 6/17) Subpoena to Produce Documents or Objects in a Criminal Case



PROOF OF SERVICE
                     DATE                                                    PLACE
R EC E IV E D
B Y SE R V ER

                     DATE                                                    PLACE
SE R V E D

SERVED ON (PRINT NAME)                                                       FEES AND MILEAGE TENDERED TO WITNESS

                                                                             ☐ YES ☐ NO AMOUNT $

SERVED BY (PRINT NAME)                                                       TITLE




                                                        DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on
                                       DATE                                        SIGNATURE OF SERVER

                                                                                   ADDRESS:



ADDITIONAL INFORMATION
